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    9                          UNITED STATES DISTRICT COURT
   10                        CENTRAL DISTRICT OF CALIFORNIA
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        DEBORAH FERNANDEZ and                   )   Case No. 2:21-cv-00661-PSG-RAO
   12   KAREN FERNANDEZ, individually           )
        and on behalf of all others similarly   )   [Assigned to Hon. Philip S. Gutierrez]
   13   situated,                               )
                                                )   [PROPOSED] ORDER OF
   14                 Plaintiffs,               )   DISMISSAL
   15           v.                              )   [Stipulation for Dismissal with Prejudice
                                                )   filed concurrently]
   16   PAYPAL, INC., PAYPAL CREDIT,            )
        SYNCHRONY BANK and DOES 1               )
   17   through 10 inclusive,                   )
                                                )   Action Filed: January 25, 2021
   18                 Defendants.               )
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                                                                [PROPOSED] ORDER OF DISMISSAL
                                                                    Case No. 2:21-cv-00661-PSG-RAO
        LA 52594672
Case 2:21-cv-00661-PSG-RAO Document 24-1 Filed 06/29/21 Page 2 of 3 Page ID #:143



    1           Having reviewed the Stipulation for Dismissal with Prejudice filed by the
    2   parties on June 29, 2021, the Stipulation is approved and accepted, and this action is
    3   hereby dismissed with prejudice. Any claims of putative class members are
    4   dismissed without prejudice. Each party shall bear its own attorneys’ fees and costs.
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    6           IT IS SO ORDERED.
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    8    Dated:
                                                            Hon. Philip S. Gutierrez
    9                                                      United States District Judge
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                                                                 [PROPOSED] ORDER OF DISMISSAL
                                                                     Case No. 2:21-cv-00661-PSG-RAO
        LA 52594672
Case 2:21-cv-00661-PSG-RAO Document 24-1 Filed 06/29/21 Page 3 of 3 Page ID #:144



    1                              CERTIFICATE OF SERVICE
    2           I hereby certify that on June 29, 2021, a copy of the foregoing [PROPOSED]
    3   ORDER OF DISMISSAL was filed electronically and served by mail on anyone
    4   unable to accept electronic filing. Notice of this filing will be sent by e-mail to all
    5   parties by operation of the court’s electronic filing system or by mail to anyone
    6   unable to accept electronic filing as indicated on the Notice of Electronic Filing.
    7   Parties may access this filing through the court’s CM/ECF System.
    8                                                          /s/ Ali Fesharaki
                                                                 Ali Fesharaki
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                                                                            CERTIFICATE OF SERVICE
                                                                       Case No. 2:21-cv-00661-PSG-RAO
        LA 52594672
